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                                                      May 10, 2022

  VIA ECF

  Special Master the Honorable Thomas Vanaskie
  Stevens & Lee
  1500 Market Street, East Tower
  18th Floor
  Philadelphia, PA 19103


           Re:        In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                      Case No. 1:19-md-02875-RBK-JS

  Dear Special Master Vanaskie:

           This letter is to provide Defendants’ positions with respect to the topics on the agenda for

  the Biweekly Teleconference with Your Honor on May 11, 2022. The parties do not expect the

  need to discuss any confidential materials as part of these agenda items.

           1.         Clarification of Deadlines in Special Master Order No. 65

           Defendants seek clarification of two deadlines in Special Master Order No. 65. (ECF No.

  2051). Based on the agreed-upon deadlines submitted in the parties’ respective position statements

  for the April Case Management Conference, Defendants believe the order is intended to read as

  follows (corrections in italics):

           “2. No later than June 2, 2022, Plaintiffs and Defendants shall file their responses to
           Daubert motions regarding other class certification experts.

           ….

           4. No later than June 16, 2022, Plaintiffs and Defendants shall file replies to responses to
           Daubert motions regarding other class certification experts.”




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           2.       Status Update on the Meet and Confers Regarding Defendants’
                    Indemnification and Defense Agreements

           As confirmed in Plaintiffs’ May 3, 2022 letter, the meet and confers ordered by Special

  Master Order No. 64 have concluded for all but a few parties with Plaintiffs having received

  confirmation of the information required. (ECF No. 2042).

           Wholesalers

           On April 19, 2022, Wholesalers collectively conferred with Plaintiffs’ counsel regarding

  the information requested in Plaintiffs’ correspondence of March 17, 2022. After consideration of

  Plaintiffs’ requests for information regarding Wholesalers’ indemnification and defense

  agreements, much of which was not the subject of prior discovery requests to Wholesalers in this

  MDL, Wholesalers conducted additional discussions with Plaintiffs’ counsel on May 3, 2022, and

  May 9, 2022. Based on those discussions, as well as Plaintiffs’ May 3, 2022 Report to the Court

  (ECF No. 2042), it is apparent that Plaintiffs are advocating for a reading of Special Master Order

  No. 64 (“SMO 64”) that is broader than mere supplementation in an effort to have the Court order

  disclosure of information by Wholesalers that has not been the subject of prior proper discovery

  requests to Wholesalers and for which Wholesalers have sound objections, including relevance

  and privilege.

           In particular, Plaintiffs have made clear that they are seeking information and details about

  Wholesalers’ defense and/or cost-sharing agreements with Manufacturer and Retail Pharmacy

  Defendants, despite the fact that defense agreements have never been the subject of a properly-

  served discovery request to Wholesalers, are not relevant to the claims in the litigation, and are

  protected by privilege. As such, on May 5, 2022, Wholesalers filed a Rule 53 Objection to and

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  Motion for Clarification of Special Master Order No. 64 (ECF No. 2050), requesting that the Court

  make clear SMO 64 only requires Wholesalers to timely supplement their prior discovery

  responses in accord with the Rules of Civil Procedure, and does not impose any new duty on

  Wholesalers to provide information regarding production or disclosure of defense or

  indemnification agreements beyond that which was requested by Plaintiffs and approved by the

  Court in Plaintiffs’ prior discovery requests. On May 10, 2022, the Court remanded this issue to

  Special Master, Judge (Ret.) Vanaskie so that the parties could properly place their concerns on

  any new discovery requests before the Special Master for resolution. Wholesalers request that

  tomorrow the Court set a briefing schedule, including a schedule for Wholesalers to submit a reply

  brief following Plaintiffs’ opposition brief, and a hearing date on their objections to Plaintiffs’ new

  discovery requests.

           OptumRx

           The parties have agreed that OptumRx will provide requested information by Friday,

  May 13, 2022, and will advise the Court further as needed.

           3.       Pro Se Losartan Personal Injury Plaintiff Michael Garrison’s Premature and
                    Improper Motion for Summary Judgment

           Pro se Plaintiff Michael Garrison of Michigan alleges he sustained personal injuries from

  ingesting Camber losartan. The Complaint, originally filed in U.S. District Court for the Eastern

  District of Michigan in August 2019, named Camber, Legacy Pharmaceutical Packaging, and

  Walmart as party Defendants. No valsartan claims were alleged. Legacy was dismissed for lack of

  personal jurisdiction, and this matter was later transferred to the MDL in November 2020 pursuant

  to Conditional Transfer Order No. 34. Although the pleadings remain open and no formalized

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  discovery plan for losartan personal injury cases is currently in effect, Plaintiff Garrison recently

  filed a motion for summary judgment on April 20, 2022. He did so without leave of court pursuant

  to CMO No. 23 and without filing a short form complaint under CMO No. 24. The motion is

  premature and not in compliance with Local Civil Rules 7.1 and 56.1. Defendants Camber and

  Walmart brought this motion to the Court’s attention in their letter of May 2, 2022, which is

  attached hereto as Exhibit A for ease of reference. Mr. Garrison was copied on the letter.

  Oppositions are currently due on May 23, 2022. Camber and Walmart request that the Court deny

  or otherwise strike Mr. Garrison’s procedurally improper filing without the need for a formal

  opposition. In the alternative, Camber and Walmart seek Your Honor’s guidance on how to

  proceed.



                                                                   Respectfully submitted,

                                                                   /s/ Lori G. Cohen

                                                                   Lori G. Cohen


  cc:      Adam Slater, Esq. (via email, for distribution to Plaintiffs’ Counsel)
           Jessica D. Miller, Esq. (via email, for distribution to Defendants’ Counsel)
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